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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

                                                     )
 NATIONAL SECURITY ARCHIVE,                          )
                                                     )
                         Plaintiff,                  )
                                                     )
                             v.                      ) Civil Action No. 17-492 (TSC)
                                                     )
 UNITED STATES DEPARTMENT OF                         )
 DEFENSE,                                            )
                                                     )
                         Defendant.                  )
                                                     )

                                   PLAINTIFF'S PROPOSED ORDER

        Upon consideration of the Parties’ Joint Status Report and the schedule proposed therein,

it is hereby ordered that:

        1.      On or before June 30, 2017, the United States Department of Defense shall make

an interim release of documents to Plaintiff; and

        2.      On or before July 14, 2017, the parties shall submit a joint status report including

a proposed schedule for completion of production of all responsive non-exempt documents as

well as an update to the Court regarding the necessity of a Vaughn index and dispositive motions.


SIGNED:




Date                                                  TANYA S. CHUTKAN
                                                      United States District Judge
